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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    FT. LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

In re:

LIBERTY POWER HOLDINGS, LLC,                                            Case No.: 21-13797-PDR
                                                                        Chapter 11
      Debtor.
____________________________________/

                         MELAND BUDWICK, P.A.'S AMENDED1
                 NOTICE OF APPEARANCE AND RESERVATION OF RIGHTS

            PLEASE TAKE NOTICE that the law firm of Meland Budwick, P.A. files its

appearance as counsel for interested party, Liberty Power Corp., LLC (the “LPC”) in the above-

captioned case. Pursuant to § 1109(b) and all other applicable provisions of the Bankruptcy Code

and Bankruptcy Rules 2002 and 9010, LPC requests that all notices and other papers given are

required to be served in this case be given to and served upon the following:

                                         Michael S. Budwick, Esquire
                                           Florida Bar No. 938777
                                       mbudwick@melandbudwick.com
                                         Daniel N. Gonzalez, Esquire
                                             Fla. Bar No. 592749
                                       dgonzalez@melandbudwick.com
                                         MELAND BUDWICK, P.A.
                                       3200 Southeast Financial Center
                                        200 South Biscayne Boulevard
                                            Miami, Florida 33131
                                         Telephone: (305) 358-6363
                                          Facsimile: (305) 358-1221

           Please take further notice that, pursuant to §§ 2002 and 9010 and all other applicable

provisions of the Bankruptcy Code, the foregoing request includes not only the notices and

papers referred to in the rules specified above, but also includes, without limitation, notices and



1
    Amended solely to correct name of interested party, Liberty Power Corp., LLC.
                                                          1
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other papers as to any application, complaint, demand, hearing, motion, petition, pleading or

request, whether formal or informal, whether written or oral, and whether transmitted or

conveyed by mail, delivery, telephone, telex, or otherwise filed with regard to the above-

referenced proceeding.


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on April

22, 2021, via the Court's Notice of Electronic Filing upon the Registered Users listed on the

attached Exhibit 1.



                                          s/Daniel N. Gonzalez
                                          Michael S. Budwick, Esquire
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                                          Daniel N. Gonzalez, Esq.
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                                          Attorneys for LPC




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Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

   •   Scott Andron sandron@broward.org, swulfekuhle@broward.org
   •   Paul J. Battista pbattista@gjb-law.com, gjbecf@gjb-law.com;chopkins@gjb-
       law.com;jzamora@gjb-law.com;gjbecf@ecf.courtdrive.com;vlambdin@gjb-law.com
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   •   Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov




                                                                                        EXHIBIT 1
